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                      IN   THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS


Synder, et al.                                    Case No. 1:14-cv-8461

                 v.                               Hon. Matthew F. Kennelly

Ocwen Loan Servicing, LLC


                                     Notice of Motion

To:      ECF Service List

         Please take notice that on Thursday, April 5, 2018, at 9:30 a.m., we shall appear
before the Hon. Matthew F. Kennelly at the United States District Court, Courtroom
2103, 219 South Dearborn Street, Chicago, Illinois, and then and there present Motion
for Attorneys’ Fees, Costs, and Service Awards, a copy of which has been filed today
with the ECF system for the Northern District of Illinois.

         Respectfully submitted,

Dated:      January 5, 2018                   ANKCORN LAW FIRM PLLC
                                              /s/ Mark Ankcorn

                                              Attorneys for Plaintiffs

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                                              Orlando, Florida 32803
                                              (321) 422-2333 phone
                                              mark@ankcornlaw.com
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                                 Certificate of Service

       I hereby certify that on January 5, 2018, I electronically filed the above and
foregoing notice and motion through the Court’s CM/ECF System, which perfected
service on all counsel of record.

                                            /s/ Mark Ankcorn
